          Case 6:10-cr-10041-JTM         Document 173       Filed 10/19/10      Page 1 of 4




                        IN THE UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                      )
                                               )
                         Plaintiff,            )
                                               )
          v.                                   )              Case No. 10-10041-08-WEB
                                               )
ROSA MARIA HERNANDEZ,                          )
                                               )
                       Defendant.              )

                                      MEMORANDUM AND ORDER

          The defendant, Rosa Maria Hernandez, entered a guilty plea to accessory after the fact, in

violation of 18 U.S.C. § 3. The defendant filed a motion for downward departure or variance.

A review of the motion shows the defendant did not argue that a specific section of the

Sentencing Guidelines establishes grounds for the court to depart pursuant to the United States

Sentencing Guidelines. The court considers her motion pursuant to 18 U.S.C. § 3553.

          Defendant requests a variance to a sentence of probation. In support of this argument,

defendant argues that she is a mother to 8 children, and that she did not have knowledge of her

husband’s, Agustin Hernandez, drug business. Defendant argues that she is not a threat to re-

offend.

          The Government argues that the defendant did have knowledge of her husband’s drug

business, and she has assisted him in the business since 2006. The Government argues that Rosa

Hernandez was intercepted on many occasions talking to Agustin Hernandez about money and

transactions, both before and after he absconded to Mexico.

          Defendant does not argue that U.S.S.G. § 5H1.6 sets forth grounds for a departure,

although that is not fatal to her argument. § 5H1.6 states that family ties and responsibilities are

                                                   1
       Case 6:10-cr-10041-JTM          Document 173         Filed 10/19/10      Page 2 of 4




not ordinarily relevant to determine if a departure is relevant. The application notes state the

court can consider a departure if the defendant is the primary caretaker, or provides financial

support to the family. Since Agustin Hernandez has absconded to Mexico, Rosa Hernandez is

the primary caretaker for the children. However, before Agustin Hernandez fled to Mexico, the

family’s main source of income was the drug business. A review of defendant’s work history

shows that while she was married to Agustin Hernandez, she did not work. She obtained a job

after Agustin fled the country. A departure under this section is not warranted. Although

defendant obtained a job after Agustin left the county, it is evident by the phone conversations

that Agustin continued his drug business, and defendant was a part of the drug business.

Defendant’s imprisonment does not exceed the harm ordinarily incident to incarceration for a

similar defendant.

       Defendant’s argument that she was unaware of her husband’s drug business is not

supported by the factual record in the plea agreement, by the offense conduct set forth in the

presentence report, or by the evidence presented at the sentencing hearing. The facts before the

court show that Rosa was assisting her husband, Agustin Hernandez, in his drug business, in

2006, and continued until 2009. She assisted him by accepting money from the drug

transactions, and assisting with drug deliveries. This conduct continued until 2008, when

Agustin Hernandez absconded to Mexico, and defendant knew there was an active warrant for

him. Defendant continued to assist him with distributing drugs into the United States, by

moving money and drugs, all the while, knowing there was an active warrant for her husband’s

arrest. Rosa never shared her knowledge of Agustin’s whereabout with law enforcement.

       Congress has directed sentencing courts to impose a sentence “sufficient, but not greater


                                                 2
       Case 6:10-cr-10041-JTM           Document 173        Filed 10/19/10      Page 3 of 4




than necessary” to comply with the purposes enumerated in 18 U.S.C. § 3553. The court has

considered the factors set forth in 18 U.S.C. § 3553, the nature and circumstances of the offense,

the defendant’s history and characteristics, as well as the need for the sentence imposed to reflect

the seriousness of the offense, provide just punishment, deter criminal conduct, and protect the

public from further crimes of the defendant.

       The defendant has not set forth sufficient facts for a variance under 18 U.S.C. § 3553.

Defendant assisted in drug distribution in the Wichita area for over three years, and she did not

disclose information to law enforcement regarding the whereabouts of her husband. In regard to

the defendant’s risk of re-offending, the court finds it telling that even after knowing that her

husband had been indicted on federal drug charges, she continued to assist him in his drug

business. This is also an indication of the defendant’s lack of respect for the law. The court has

reviewed the possible sentences of the co-defendants in this case. Possible sentences range from

18 months imprisonment, to life imprisonment. The court finds that a sentence at the low end of

the guideline range, 70 months, will provide just punishment for the defendant, and protect the

public from further crimes of the defendant. Although the defendant does not have a criminal

record, it is evident that she participated in the trafficking and distribution of drugs for a number

of years, and continued even after the United States issued a warrant for the arrest of her

husband. The court also notes that the defendant was aware of the consequences of her

involvement. In criminal case 08-10106-JTM, defendant’s husband, and her brother-in-laws,

were indicted. Her brother-in-laws were convicted, and they are all currently serving a sentence

of imprisonment. However, armed with this knowledge, defendant continued to assist her

husband in his business. The defendant’s motion for a departure or variance is denied.


                                                  3
      Case 6:10-cr-10041-JTM        Document 173       Filed 10/19/10    Page 4 of 4




       IT IS ORDERED FOR THE REASONS SET FORTH ABOVE that the defendant’s

request for a downward departure or variance pursuant to 18 U.S.C. § 3553 is DENIED.

       SO ORDERED this 18th day of October, 2010.



                                           s/ Wesley E. Brown
                                          Wesley E. Brown
                                          Senior U.S. District Judge




                                             4
